Case 3:18-cr-00095-L a Document 1 Filed 02/21/18 Page 1 of4 Page|D; g n l

 

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FoR THE NoRTHERN DlsTRICT oF TEXAS t
DALLAS DlvisloN _ ' if d § a
UNITED sTATEs oF AMERICA No. l "`~f>/
v 3-180R~095-L
ERIC PAUL BRADIX (1)
MM_EM
The Grand Jury Charges:
C_OlLOn€

Felon in Possession of a Firearm
(Violation of 18 U.S.C. §§ 922(g)(l) and 924(a)(2))

On or about October 17, 2017, in the Dallas Division of the Northern District of
TeXas, the defendant, Eric Paul Bradix, having been convicted of a crime punishable by
imprisonment for a'term exceeding one year, did knowingly and unlawfully possess in
and affecting interstate and foreign commerce a firearm, to Wit: a Ruger, Model 95DC,
9Xl9 millimeter pistol, bearing serial number 313-92087.

In violation of 18 U.S.C. §§ 922(g)(l) and 924(a)(2).

Indictment - Page 1

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Forfeiture Notice
(18 U.S.C. § 924(d) and 28 U.S.C. § 2461(0))

Upon conviction for the offense alleged in Count One of this lndictment, and
pursuant to 18 U.S.C. § 924(d) and 28 U.S.C. § 2461(0), the defendant, Eric Paul
Bradix; shall forfeit to the United 'States of America any firearm and ammunition
involved in the commission of the respective offense, including but not limited to the

following:

(l) a Ruger, Model 95DC, 9x19 millimeter pistol, bearing serial number 313-

92087;and

(2) any ammunition recovered With the Weapon.

Indictment - Page 2

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A TRUE BILL

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ERIN NEALY COX
UNITED STATES A'l:l`ORNEY

 

Assistant United tes Attorney
TeXas Bar No. 00 0002

1100 Commerce Street, Third Floor
Dallas, Texas 75242-1699

Tel: 214.659.8617

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JoHN J. BUYLE§!£
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Indictment - Page 3

 

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lN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF TEXAS
DALLAS DIVISION

 

THE UNITED STATES OF AMERICA

ERIC PAUL BRADIX

 

INDICTMENT

18 U.S.C. §§ l922(g)(1) and 924(a)(2)
Felon in Possession of a Firearm

18 U.S.C. § 924(d) and 28 U.S.C. § 2461(0)
Forfeiture Notice

1 Count

 

A true bill rendered

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DALLAS li U \FoREPERs oN

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Filed in open court this 21st day of February, 2018.

 

Warrant to be Issued - In State Custody

 

    
 

UNITEIj `siATEsi`<?I’ ` \ R’A/TE JUDGE
No Criminal Matter Perld~ing~,_

 

